                                  UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF ARIZONA

                                                 Minute Entry
Hearing Information:
                   Debtor:   CHARLES MICHAEL COLBURN
             Case Number:    2:21-BK-05407-MCW       Chapter: 7

       Date / Time / Room:   WEDNESDAY, SEPTEMBER 07, 2022 02:00 PM 7TH FLOOR #702

      Bankruptcy Judge:      MADELEINE C. WANSLEE
          Courtroom Clerk:   TAYLER CARTER
           Reporter / ECR:   SELVINA BENNINK                                                    0.00


Matter:
     1) MEDMEN ENTERPRISES, INC.'S MOTION TO COMPEL ASHMOON, INC.'S COMPLIANCE WITH RULE 2004
        ORDER FILED BY JAMES GEORGE FLORENTINE OF SNELL & WILMER L.L.P. ON BEHALF OF MEDMEN
        ENTERPRISES, INC.
        R / M #: 581 / 0

     2) CONTINUED MAY, PONTENZA, BARAN, & GILLESPIE, P.C.'S AMENDED MOTION TO WITHDRAW AS
        COUNSEL FOR UNISYS TECHNICAL SOLUTIONS, LLC WITH CLIENT CONSENT
        R / M #: 429 / 0
          VACATED: PER ORDER SIGNED ON 09-30-2022, CONTINUED TO 10-12-2022 AT 10:30 AM


Appearances:

     GERALD L. SHELLEY, ATTORNEY FOR CHARLES MICHAEL COLBURN
     DAVID M. REAVES, TRUSTEE
     STEVEN D. JEROME, ATTORNEY FOR MEDMEN ENTERPRISES, INC.
     WARREN J. STAPLETON, ATTORNEY FOR MAY, POTENZA, BARAN, & GILLESPIE, P.C




  Case
Page 1 of 22:21-bk-05407-MCW          Doc 641 Filed 09/07/22 Entered 09/13/22 16:30:02     Desc
                                                                                   09/13/2022 4:24:55PM
                                            Main Page 1 of 2
                                      UNITED STATES BANKRUPTCY COURT
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                                                         Minute Entry
(continue)...   2:21-BK-05407-MCW           WEDNESDAY, SEPTEMBER 07, 2022 02:00 PM


Proceedings:                                                                                                        1.00

          Mr. Jerome reviews the motion and notes no formal or informal responses to the subpoena. He
          requests the Court grant the motion with the requested monetary sanctions. He explains Mr. Colburn
          owns 25% of the business. He does not know if a Rule 30(b)(6) representative has been designated on
          behalf of Ashmoon, Inc. He believes the Ashmoon, Inc. entity is affiliated with Mr. Colburn.

          Mr. Shelley responds to the Court's questions. He believes a Rule 30(b)(6) representative is necessary.
          His client has an interest in Ashmoon, Inc., which occasionally results in a distribution.

          Mr. Reaves questions why the information is not forthcoming.

          Mr. Stapleton notes some documents related to Ashmoon, Inc. that were not responsive to Unisys
          Technical Solutions, LLC, will be responsive to the Rule 2004 order.

          Mr. Jerome states that he is entitled to Rule 2004 examination of a Rule 30(b)(6) representative.

          COURT: THE COURT PLACES ITS FINDINGS AND CONCLUSIONS ON THE RECORD. IT IS ORDERED
          GRANTING MEDMEN ENTERPRISES, INC.'S MOTION TO COMPEL ASHMOON, INC.'S COMPLIANCE
          WITH RULE 2004 ORDER. THURSDAY, SEPTEMBER 22, 2022 BY 5:00 PM IS THE DATE AND TIME
          CERTAIN FOR ASHMOON, INC. TO FULLY COMPLY WITH THE RULE 2004 ORDER AND SUBPOENA.
          FAILURE TO COMPLY, ASHMOON, INC. WILL INCUR A $620.00 DAILY FEE BEGINNING FRIDAY,
          SEPTEMBER 23, 2022 UNTIL IT FULLY COMPLIES WITH THE RULE 2004 ORDER AND SUBPOENA. MR.
          JEROME MAY PREPARE AND UPLOAD A FORM OF ORDER. FURTHER, MR. JEROME SHALL UPLOAD A
          FORM OF ORDER GRANTING AN AWARD OF ATTORNEYS' FEES AND COSTS TO BE DETERMINED BY
          THE COURT UPON APPLICATION.

          IT IS FURTHER ORDERED SETTING A STATUS HEARING FOR WEDNESDAY, OCTOBER 12, 2022 AT
          10:30 AM.




  Case
Page 2 of 22:21-bk-05407-MCW               Doc 641 Filed 09/07/22 Entered 09/13/22 16:30:02     Desc
                                                                                        09/13/2022 4:24:55PM
                                                 Main Page 2 of 2
